                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:20-CV-00270-FDW-DSC


 ANA DUARTE,                                       )
                                                   )
                   Plaintiff,                      )
                                                   )
 v.                                                )                   ORDER
                                                   )
 TRUIST BANK,                                      )
                                                   )
                  Defendant.                       )



       THIS MATTER is before the Court on “Plaintiff’s Motion to Compel Discovery

Responses” (document # 22) filed December 15, 2020, as well as the parties’ briefs and exhibits.

       Plaintiff seeks to compel responses to her discovery requests, which focus primarily on

Defendant’s alleged automatic telephone dialing system. Defendant has objected on grounds of

relevance, insufficiently defined terms and other boilerplate assertions. For the reasons set forth

in Plaintiff’s briefs, Defendant’s objections are overruled and the Motion is granted.     Within

fifteen days of this Order, Defendant shall produce complete supplemental responses to each of

Plaintiff’s discovery requests. The parties will bear their own costs at this time.

       If the parties contend that an additional protective order is needed, a motion and proposed

consent protective order may be submitted. If the parties cannot agree, each party may present a

proposed protective order.

       The Clerk is directed to send copies of this Order to counsel for the parties and to the

Honorable Frank D. Whitney.

       SO ORDERED.                 Signed: January 12, 2021




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